8:09-cr-00009-LSC-FG3         Doc # 100     Filed: 07/29/09     Page 1 of 2 - Page ID # 204




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:09CR9
                                               )
              Plaintiff,                       )
                                               )                MEMORANDUM
              vs.                              )                 AND ORDER
                                               )
ADRIANA GARCIA-SILVA,                          )
                                               )
              Defendant.                       )

       This matter is before the Court on the Report and Recommendation (Filing No. 93)

issued by Magistrate Judge F.A. Gossett recommending denial of the Defendant’s Motion

to Suppress (Filing No. 82).        No objections have been filed to the Report and

Recommendation as allowed by 28 U.S.C. § 636(b)(1)(C) and NECrimR 57.3(a).

       The Defendant, Adriana Garcia-Silva, seeks an order suppressing all evidence and

statements obtained as a result of a search of a residence on Monroe Street in Omaha,

Nebraska, on or about December 22, 2008. The search was conducted pursuant to a

warrant.

       Notwithstanding the absence of objections, pursuant to 28 U.S.C. § 636(b)(1)(C) and

NECrimR 57.3, the Court has conducted a de novo review of the record. The Court has

read the parties’ briefs (Filing Nos. 83, 88) and the transcript (Filing No. 99) and viewed the

evidence (Filing No. 92). Judge Gossett concluded: probable cause existed to issue the

search warrant; and the good faith exception, United States v. Leon, 468 U.S. 897 (1984),

also applies. Because Judge Gossett fully, carefully, and correctly applied the law to the

facts, the Court adopts the Report and Recommendation in its entirety.
8:09-cr-00009-LSC-FG3     Doc # 100       Filed: 07/29/09   Page 2 of 2 - Page ID # 205




     IT IS ORDERED:

     1.    The Magistrate Judge’s Report and Recommendation (Filing No.93) is

           adopted in its entirety; and

     2.    The Defendant’s motion to suppress (Filing No. 82) is denied.

     DATED this 29th day of July, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge




                                           2
